     Case 1:15-cv-06119-AJN-JLC Document 381-17 Filed 06/19/17 Page 1 of 1




From:             SG
Sent:             Wednesday, August 7, 2013 10:38 AM EDT
To:               Loraine Doyle; Sharon Hill
Subject:




Folks

I screwed up. I recently closed an account but failed to throw away that checkbook. The checks
are the same size and color as my Amalgamated bank, and I mistakenly gave you a check from
the wrong closed out account. I have immediately given you today the proper Amalgamated
check, at the door man now.

This was my error and not a lack of funds error.



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